   Case 6:19-cv-00100-RSB-BKE Document 30 Filed 08/04/20 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION


RICKY MOSLEY,

               Plaintiff,                                 CIVIL ACTION NO.: 6:19-cv-100

       v.

HAROLD CARAVIELLO, Physicians’
Assistant, and DR. ISKION,

               Defendants.


                                           ORDER

       After a careful, de novo review of the entire record, the Court concurs with the Magistrate

Judge’s Report and Recommendation, (doc. 24), to which Plaintiff filed objections, (doc. 26).

       The Court finds Plaintiff’s objections unavailing.      The Court informed Plaintiff on

multiple occasions he was responsible for providing identifying information to the United States

Marshal to effect service, and the Court instructed the Marshal to make multiple service inquiries

based on the information provided by Plaintiff. (See docs. 10, 23.) Upon recommendation of

dismissal, Plaintiff now asserts Dr. Iskion’s name is listed in his medical records, (doc. 26), but

he does not give any indication he has attempted to ascertain a different name for this Defendant

by using discovery tools which have been available to him since May 19, 2020. (See doc. 20.)

Nor did Plaintiff respond to the Court’s show cause order regarding service on Defendant Iskion,

(doc. 23), let alone suggest he was attempting to obtain information about a different name for

this Defendant.

       Accordingly, the Court OVERRULES Plaintiff’s objections, ADOPTS the Magistrate

Judge’s Report and Recommendation as the opinion of the Court, and DISMISSES Defendant
  Case 6:19-cv-00100-RSB-BKE Document 30 Filed 08/04/20 Page 2 of 2



Iskion, and all of Plaintiff’s claims against him, without prejudice. The Court DIRECTS the

CLERK to terminate this Defendant on the docket. The case will proceed against Defendant

Caraviello.

       SO ORDERED, this 4th day of August, 2020.




                                   R. STAN BAKER
                                   UNITED STATES DISTRICT JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA




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